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                                                                                          MAHAJAN, M.D., CHRISTIAN DE VIRGILIO,
                                                                                        7 M.D., HAL F. YEE, M.D., ROGER LEWIS, M.D.,
                                                                                          and MITCHELL KATZ, M.D.
                                                                                        8
                                                                                        9                         UNITED STATES DISTRICT COURT
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                                         15760 VENTURA BOULEVARD, EIGHTEENTH FLOOR




                                                                                       12 TIMOTHY RYAN, M.D., an                     Case No. 2:17-cv-05752-R-RAO
                                                                                          individual,
                                                  ENCINO, CALIFORNIA 91436




                                                                                       13                                            [Honorable Manuel L. Real]
                                                                                                       Plaintiff,
                                                                                       14                                            MEMORANDUM OF POINTS AND
                                                                                                 vs.                                 AUTHORITIES IN SUPPORT OF
                                                                                       15                                            DEFENDANTS' MOTION TO DISMISS
                                                                                          BRANT PUTNAM, M.D., an                     PLAINTIFF'S FIRST AMENDED
                                                                                       16 individual, JANINE VINTCH, M.D., an        COMPLAINT
                                                                                          individual, ANISH MAHAJAN, M.D.,
                                                                                       17 an individual, CHRISTIAN DE                Date:         December 4, 2017
                                                                                          VIRGILIO, M.D., an individual, HAL         Time:         10:00 a.m.
                                                                                       18 F. YEE, M.D., an individual, ROGER         Ctrm:         880
                                                                                          LEWIS, M.D., an individual,
                                                                                       19 MITCHELL KATZ, M.D., an                    Action Filed: August 3, 2017
                                                                                          individual, and DOES 1 through 50,         Trial Date:   None Set
                                                                                       20 inclusive,
                                                                                       21                  Defendants.
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                                                                                        1 I.           INTRODUCTION
                                                                                        2              The First Amended Complaint ("FAC") (Doc. 14) names seven Defendants,
                                                                                        3 all employees of the County of Los Angeles ("County"). Defendants Brant Putnam,
                                                                                        4 M.D., Janine Vintch, M.D., Christian De Virgilio, M.D., and Roger Lewis, M.D. are
                                                                                        5 members of the Professional Staff Association ("PSA") at Harbor-UCLA Medical
                                                                                        6 Center ("Harbor-UCLA" or the "Hospital") and the PSA's Medical Executive
                                                                                        7 Committee ("MEC"). Defendant Anish Mahajan, M.D. is a non-voting MEC
                                                                                        8 member. Defendants Hal F. Yee, M.D. and Mitchell Katz, M.D. are the Chief
                                                                                        9 Medical Officer ("CMO") and Director, respectively, of the County's Department of
                                                                                       10 Health Services ("DHS"), but are not MEC or PSA members. In fact, the PSA is a
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                                                                                       11 self-governing body and beyond the scope of Dr. Yee and Dr. Katz.
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                                                                                       12              Plaintiff Timothy Ryan, M.D., claims his First Amendment rights were
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                                                                                       13 violated when the MEC voted, after an investigation, to recommend that Plaintiff's
                                                                                       14 PSA membership and privileges be revoked due to Plaintiff's unprofessional
                                                                                       15 conduct, which included: (1) violations of federal and state medical privacy laws;
                                                                                       16 and (2) abusive behavior towards his co-workers. Plaintiff alleges the MEC's
                                                                                       17 recommendation was in retaliation for his disclosures of ostensible misconduct by
                                                                                       18 one of his former physician colleagues. However, Plaintiff admittedly appealed that
                                                                                       19 recommendation, as he had the right to do under the PSA Bylaws, and he tacitly
                                                                                       20 admits no final decision has been rendered on his PSA membership or privileges.
                                                                                       21              Plaintiff's claim under 42 U.S.C. § 1983 should be dismissed with prejudice,
                                                                                       22 because the FAC's allegations show that: (1) all Defendants are entitled to qualified
                                                                                       23 immunity; and (2) Plaintiff fails to state a claim for relief. No Defendant subjected
                                                                                       24 Plaintiff to an adverse employment action, especially not as a matter of "clearly
                                                                                       25 established" law within the particular factual context of this case. Only four
                                                                                       26 Defendants were voting members of the MEC, which merely recommended action
                                                                                       27 based on the results of a required investigation. Nor does "clearly established" law
                                                                                       28 indicate that Plaintiff spoke as a private citizen on matters of public concern.

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                                                                                        1 II.          ALLEGATIONS IN PLAINTIFF'S FAC
                                                                                        2              A.    The Parties
                                                                                        3              The County owns and operates Harbor-UCLA and employs a staff of medical
                                                                                        4 professionals. (FAC ¶ 5.) The Hospital's self-governing PSA (see FAC ¶ 6)
                                                                                        5 functions in accordance with Bylaws (Req. for Jud. Notice ("RJN"), Exh. 1) and acts
                                                                                        6 in a purely advisory capacity to the Hospital's administrator and the County's
                                                                                        7 Director of Health Services in connection with medical staff appointments, among
                                                                                        8 other matters. (RJN, Exh. 2 [L.A. County Code § 2.76.540(A), (B), (D)].)
                                                                                        9              Since 2013, Plaintiff has worked at Harbor-UCLA as a Staff Vascular
                                                                                       10 Surgeon, Physician Specialist. (FAC ¶ 1.) Plaintiff is employed by the DHS (FAC ¶
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                                                                                       11 5), as are each of the Defendants:
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                                                                                       12              •     Dr. Putnam is President of the PSA and Chair of the MEC. (FAC ¶¶ 2,
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                                                                                       13 6; RJN, Exh. 1 § 11.2-2.)
                                                                                       14              •     Dr. Vintch is the Vice Chair of the MEC. (FAC ¶ 7.)
                                                                                       15              •     Dr. Mahajan is the CMO of Harbor-UCLA and an ex officio (non-
                                                                                       16 voting) member of the MEC. (FAC ¶ 8; RJN, Exh. 1 § 11.2-1.2.)
                                                                                       17              •     Dr. De Virgilio is a member of the MEC. (FAC ¶ 9.)
                                                                                       18              •     Dr. Yee is the CMO of the County (specifically, DHS), and is not a
                                                                                       19 member of the MEC. (FAC ¶ 10.)
                                                                                       20              •     Dr. Lewis is a member of the MEC and is Chief of Emergency
                                                                                       21 Medicine at Harbor-UCLA. (FAC ¶ 11.)
                                                                                       22              •     Dr. Katz is the Director of DHS and not a member of the MEC. (FAC ¶
                                                                                       23 12.)
                                                                                       24              Notably, Dr. Lewis and Dr. Katz were not named as Defendants in Plaintiff's
                                                                                       25 original Complaint, nor were they mentioned anywhere in that pleading. (See Doc.
                                                                                       26 1, Complaint ¶¶ 5-9.)
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                                                                                        1              B.    Plaintiff's Allegations Against Dr. White
                                                                                        2              Rodney White, M.D. was Harbor-UCLA's Chief of Vascular Surgery and
                                                                                        3 Vice Chair of its LA BioMed Research Committee. (FAC ¶ 16.) Plaintiff alleges
                                                                                        4 that Dr. White had an agreement with a manufacturer of aortic stent grafts, under
                                                                                        5 which the manufacturer paid Dr. White to "put on 'courses' during which the
                                                                                        6 manufacturer's employees could observe stent graft procedures." (Id.) According to
                                                                                        7 Plaintiff, these payments "were a sham, an effort to disguise unlawful kickbacks to
                                                                                        8 Dr. White for his use of the manufacturer's stent grafts." (Id.)
                                                                                        9              Plaintiff claims these so-called "kickbacks" gave Dr. White an incentive to
                                                                                       10 perform stent graft procedures that may be medically unnecessary, and to seek out
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                                                                                       11 candidates for such procedures. (FAC ¶ 17.) The FAC depicts an instance in
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                                                                                       12 December 2013 where "one of Plaintiff's patients ('Patient BH')" allegedly received
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                                                                                       13 a medically unnecessary stent graft at Dr. White's direction, and developed a serious
                                                                                       14 complication from the procedure. (FAC ¶¶ 17-21, emphasis added.) Plaintiff alleges
                                                                                       15 this conduct was part of a larger kickback scheme which often came "at the expense
                                                                                       16 of patient safety," including "payment of kickbacks to other [unidentified] Harbor-
                                                                                       17 UCLA doctors each time they used a particular medical device in treating a patient."
                                                                                       18 (FAC ¶ 22.)
                                                                                       19              Plaintiff claims he "discovered additional instances of misconduct by Dr.
                                                                                       20 White" from about April to June 2014, including "falsification of patient case
                                                                                       21 records to appear eligible" for clinical trials sponsored by the National Institutes of
                                                                                       22 Health ("NIH") and "false certification of medical need" for patients Dr. White had
                                                                                       23 not examined, including Plaintiff's patients. (FAC ¶ 23.)
                                                                                       24              C.    Plaintiff's Alleged Disclosures
                                                                                       25              Plaintiff alleges that he "reported the above-described conduct, as well as
                                                                                       26 more general concerns that Dr. White and others were compromising patient care in
                                                                                       27 order to perform courses for third party medical device manufacturers, and utilizing
                                                                                       28 specific medical devices in which Dr. White and others had a pecuniary interest."

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                                                                                        1 (FAC ¶ 24.) According to the FAC, "Plaintiff first reported these issues" to Dr. De
                                                                                        2 Virgilio, then a senior Vascular Surgeon, and three non-parties: Timothy Van Natta,
                                                                                        3 M.D. (then the CMO of Harbor-UCLA), Bruce Stabile, M.D. (then Chief of
                                                                                        4 Surgery), and Delvecchio Finley (then CEO). (Id.) "Around the same time," Plaintiff
                                                                                        5 allegedly "reported his concerns to an [unnamed] NIH compliance officer," and
                                                                                        6 informed Dr. Van Natta and Dr. De Virgilio of this report. (FAC ¶ 25.) The FAC
                                                                                        7 does not specify when Plaintiff made these reports, but suggests he did so in 2014,
                                                                                        8 because by January 2015, he supposedly "lost confidence that hospital management
                                                                                        9 would stop the fraud scheme and patient endangerment." (FAC ¶ 26.)
                                                                                                       On January 12, 2015, Plaintiff allegedly contacted the head of the County
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                                                                                       10
                                                                                       11 District Attorney's Healthcare Fraud Division to inform her "of the ongoing fraud
                                         15760 VENTURA BOULEVARD, EIGHTEENTH FLOOR




                                                                                       12 scheme." (FAC ¶ 26.) On April 9, 2015, Plaintiff learned the District Attorney's
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                                                                                       13 Office ("DA") had transferred the investigation to the California Department of
                                                                                       14 Justice ("DOJ"). (Id.) "Plaintiff thereafter informed Dr. Putnam, Dr. Van Natta, and
                                                                                       15 Dr. De Virgilio that he had reported Dr. White's conduct to law enforcement and
                                                                                       16 that a criminal investigation was underway." (Id.) Plaintiff alleges on information
                                                                                       17 and belief that Dr. White and Defendants learned of Plaintiff's disclosures through
                                                                                       18 unspecified "discussions among hospital personnel." (Id.)
                                                                                       19              D.    The MEC's Investigation and Recommended Discipline
                                                                                       20              On August 25, 2015, several months after Plaintiff's alleged disclosures, Dr.
                                                                                       21 White sent Dr. Putnam a letter asking that "corrective action be taken against
                                                                                       22 Plaintiff," because Plaintiff's "collection of information" regarding Dr. White's
                                                                                       23 alleged conduct violated federal and state medical privacy laws. (FAC ¶ 29, citing
                                                                                       24 the Health Insurance Portability and Accountability Act of 1996 ("HIPAA"), Pub. L.
                                                                                       25 No. 104-191, 110 Stat. 1936 (1996); see, e.g., 42 U.S.C. §§ 1320d et seq., and
                                                                                       26 California's Confidentiality of Medical Information Act ("CMIA"), Cal. Civ. Code
                                                                                       27 §§ 56 et seq.) Dr. White claimed he was adversely affected personally and
                                                                                       28 professionally by Plaintiff's conduct. (FAC ¶ 29.)

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                                                                                        1              The MEC "initiated an internal disciplinary procedure" in which it allegedly
                                                                                        2 "sought to revoke Plaintiff's Professional Staff membership and privileges." (FAC ¶
                                                                                        3 30.) According to the FAC, the PSA Bylaws provide that the MEC is responsible for
                                                                                        4 "initiating disciplinary actions against medical staff at Harbor-UCLA and, where
                                                                                        5 appropriate, dismissing medical staff and discontinuing medical privileges." (Id.)
                                                                                        6              However, the FAC neglects to mention that under the PSA Bylaws,
                                                                                        7 disciplinary action may be initiated only after the matter has been investigated by
                                                                                        8 "an ad hoc committee" appointed by "the chair of the department wherein the
                                                                                        9 practitioner has such privileges." (RJN, Exh. 1 § 6.2-5.) Thus, initiation of an
                                                                                       10 investigation is required by the PSA Bylaws, and is not retaliatory.
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                                                                                       11              The FAC alleges that "[a]s part of this process, the MEC met with Dr. Yee,"
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                                                                                       12 discussed Plaintiff's disclosures with him, "and asked Dr. Yee and DHS to ratify the
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                                                                                       13 MEC's proposed retaliatory employment action." (FAC ¶ 31.) According to the
                                                                                       14 FAC, in or about April 2016, "Dr. Yee endorsed, ratified, encouraged, and
                                                                                       15 approved" – in some unspecified manner – the unidentified adverse action against
                                                                                       16 Plaintiff, supposedly with "full knowledge" of the alleged retaliatory motive
                                                                                       17 (although the source of Dr. Yee's alleged "knowledge" is not identified). (Id.)
                                                                                       18              In the FAC, Plaintiff also alleges – for the first time – that Dr. Katz learned of
                                                                                       19 Plaintiff's reports back in 2014, and "endorsed, permitted, and encouraged" the
                                                                                       20 2015-2016 MEC proceeding in some unspecified manner, supposedly with
                                                                                       21 knowledge that it was retaliatory (which it was not). (FAC ¶ 32.) Plaintiff's only
                                                                                       22 elaboration on this newly-minted allegation is that when the "President of the Union
                                                                                       23 of American Physicians" supposedly "confronted Dr. Katz" with the ostensible "fact
                                                                                       24 that the proceeding was retaliatory and should be stopped, Dr. Katz replied that he
                                                                                       25 would 'let nature take its course.'" (Id.) Of course, it would have been highly
                                                                                       26 improper for Dr. Katz to have interfered with an investigation of Plaintiff's potential
                                                                                       27 violations of medical privacy laws.
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                                                                                        1              Under Article VI of the Bylaws, however, the Director and CMO of DHS –
                                                                                        2 who are not MEC members (see FAC ¶¶ 10, 12) – have no role in the investigation
                                                                                        3 or disciplinary process after it has been initiated, except that they are among those to
                                                                                        4 whom the MEC's recommendation is transmitted and to whom a final decision after
                                                                                        5 any appeal is delivered. (RJN, Exh. 1 §§ 6.2-5, 6.2-7, 6.2-8, 6.2-9, 7.6-4.)1 The FAC
                                                                                        6 alleges no facts which would show how any "endors[ment]," "ratifi[cation],"
                                                                                        7 "encourage[ment]," "approv[al]," or "permi[ssion]" by Dr. Yee or Dr. Katz could
                                                                                        8 have been accomplished or would have had any impact. (FAC ¶¶ 10, 12, 31-32.)
                                                                                        9              Dr. Putnam informed Plaintiff via letter dated October 5, 2016, that the MEC
                                                                                       10 had voted to revoke Plaintiff's PSA membership and privileges at Harbor-UCLA
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                                                                                       11 under Article VI of the Bylaws. (FAC ¶ 33.) The MEC's reason for this "proposed
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                                                                                       12 action" was "Plaintiff's alleged 'unprofessional behavior' which purportedly created
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                                                                                       13 a 'chaotic situation in the vascular division.'" (Id.) The FAC alleges that Dr. Putnam,
                                                                                       14 Dr. Vintch, Dr. Mahajan, and Dr. Lewis all voted in favor of this proposed
                                                                                       15 revocation (id.) – even though Dr. Mahajan was a non-voting ex officio member of
                                                                                       16 the MEC (RJN, Exh. 1, § 11.2-1.2) – and that Dr. Lewis "argued that [Plaintiff]
                                                                                       17 should be punished for his protected speech," although no details of this supposed
                                                                                       18 argument are offered. 2 (FAC ¶ 33.) Given that the records and proceedings of a
                                                                                       19 quality assurance committee are strictly confidential and immunized from
                                                                                       20
                                                                                       21   1
                                                                                            The Director also shall be consulted by "the Governing Body" if that body
                                                                                       22 determines the MEC "failed" to initiate an investigation or recommend disciplinary
                                                                                       23 action against the weight of evidence and before directing the MEC to take such
                                                                                          actions. (RJN, Exh. 1 § 6.2-10.) The Bylaws define "the Governing Body" as the
                                                                                       24 County's Board of Supervisors. (RJN, Exh. 1 at 5 [¶ 23].)
                                                                                       25 2
                                                                                            The FAC later vaguely suggests that all "Defendants" voted to revoke Plaintiff's
                                                                                       26 staff membership and privileges (FAC ¶ 43), but it does not specifically allege that
                                                                                       27 Dr. Yee or Dr. Katz cast any such votes, nor does it explain how they could have
                                                                                          done since they were not MEC members. (FAC ¶¶ 10, 12.)
                                                                                       28

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                                                                                        1 discovery under California Evidence Code § 1157, it is hard to imagine the
                                                                                        2 foundation for Plaintiff's claims regarding how MEC members voted.
                                                                                        3              Plaintiff claims the allegations against him "are false" and a pretext for
                                                                                        4 retaliating against him for his reports of Dr. White's conduct. (FAC ¶ 34.) But
                                                                                        5 regardless of the truth or falsity of the allegations, investigating those allegations is
                                                                                        6 not retaliatory, and indeed is essential where, as here, the magnitude of the
                                                                                        7 allegations are violations of federal and state medical privacy laws. (FAC ¶ 29.)
                                                                                        8              Significantly, Plaintiff exercised his right to request a hearing under the
                                                                                        9 Bylaws. (FAC ¶ 34, citing Bylaws § 7.4-2 [RJN, Exh. 1].) On or about November
                                                                                       10 10, 2016, Plaintiff received a Notice of Charges from Dr. Putnam, stating that a
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                                                                                       11 hearing would be conducted on MEC's proposed action, and reiterating the MEC's
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                                                                                       12 bases for that proposal. (FAC ¶¶ 35-36.)
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                                                                                       13              The Bylaws provide that the hearing shall be before a Judicial Review
                                                                                       14 Committee ("JRC") appointed by the MEC and composed of five "impartial" active
                                                                                       15 staff members who "have not actively participated in the consideration of the matter
                                                                                       16 involved at any previous level." (RJN, Exh. 1 §§ 7.4-1, 7.4-4, 7.6.) The FAC
                                                                                       17 contains no allegations regarding the hearing or any decision thereon, reflecting the
                                                                                       18 fact that the hearing and decision process are not yet final. (FAC ¶¶ 35-36; see
                                                                                       19 RJN, Exh. 1 §§ 7.6.-5, 7.7 [JRC's decision is final but subject to final appeal to the
                                                                                       20 Governing Body, defined in Exh. 1 at 5 [¶ 23] as County's Board of Supervisors].)
                                                                                       21 As such, the recommendation by the MEC members is not even ripe for review.
                                                                                       22              E.    The County's 25-Day Suspension of Plaintiff's Employment
                                                                                       23              Meanwhile, Dr. Mahajan, in his capacity as Harbor-UCLA's CMO, signed
                                                                                       24 and gave Plaintiff a letter dated April 4, 2017, which notified him of the County's
                                                                                       25 "intention to suspend Plaintiff's employment at Harbor-UCLA for 25 days." (FAC ¶
                                                                                       26 37; RJN, Exh. 3.) This is the equivalent of a "Skelly notice" under California law.
                                                                                       27 See Skelly v. State Personnel Bd., 15 Cal. 3d 194, 215 (1975) (requiring notice and
                                                                                       28 other procedures before discipline of public employee becomes effective).

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                                                                                        1              The FAC alleges that this Suspension Notice cited "multiple unfounded
                                                                                        2 HIPAA and CMIA violations for Plaintiff's reporting of Dr. White's conduct to the
                                                                                        3 NIH and law enforcement as the reason for the proposed suspension," and
                                                                                        4 specifically "stated that Plaintiff's actions violated [DHS's] Discipline Manual and
                                                                                        5 Guidelines because the actions were outside the scope of Plaintiff's employment
                                                                                        6 duties." (FAC ¶ 37.)
                                                                                        7              However, the Suspension Notice itself did not reference "Plaintiff's reporting
                                                                                        8 of Dr. White's conduct," and the only "action[] . . . outside the scope" of his job
                                                                                        9 duties mentioned in the letter was Plaintiff's misuse of his position to ask a clerk,
                                                                                       10 Amanda Flores, to obtain a report of patients who underwent operative procedures
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                                                                                       11 dating back to July 2012, when Plaintiff was "not employed at Harbor-UCLA."
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                                                                                       12 (RJN, Exh. 3 at 5[¶¶ 9-13], emphasis added.) The Suspension Notice stated in
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                                                                                       13 pertinent part:
                                                                                       14              Dr. Ryan, you violated departmental policies by your unauthorized
                                                                                       15              request and review of patients' PHI [i.e., protected health information]
                                                                                       16              that were not under your care. In fact, your request included a time
                                                                                       17              period in which you were not yet employed at Harbor-UCLA. You
                                                                                       18              used your County position for unauthorized access. You did not have
                                                                                       19              to request the broad search of surgical procedures or review the case
                                                                                       20              information from other doctors to fulfill your job responsibilities as a
                                                                                       21              Physician Specialist. When asked about this incident during the
                                                                                       22              Department's administrative interview, you were dishonest and
                                                                                       23              completely denied receiving patient information from other doctor's
                                                                                       24              cases. Your statement is blatantly contradicted by the report that you
                                                                                       25              were provided from Ms. Flores, which lists multiple patients from
                                                                                       26              various doctors other than yourself. By accessing multiple patient's
                                                                                       27              records without necessity and proper authorization and then lying about
                                                                                       28              it during an internal investigation, you demonstrated a serious lapse in

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                                                                                        1              judgment and caused DHS to question your professionalism and
                                                                                        2              integrity.
                                                                                        3 (RJN, Exh. 3 at 6.) The Suspension Notice also detailed Plaintiff's "outbursts of
                                                                                        4 anger, yelling, and invasion of personal space" while dealing with co-workers (id. at
                                                                                        5 6), and specifically identified two nurses, Ana Venegas and Mabel Rodriguez, as
                                                                                        6 targets of his abusive behavior. (Id. at 3-4.) Although Dr. Mahajan signed the
                                                                                        7 Suspension Notice as CMO (id. at 8), the FAC does not identify the County's
                                                                                        8 suspension decision as an "adverse employment action" undertaken by any
                                                                                        9 Defendant. (FAC ¶¶ 37, 43.)
                                                                                       10 III.         ALL DEFENDANTS ARE ENTITLED TO QUALIFIED IMMUNITY FROM SUIT.
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                                                                                       11              Plaintiff's lone claim is for First Amendment retaliation under 42 U.S.C. §
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                                                                                       12 1983, which provides: "Every person who, under color of [law] . . . subjects, or
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                                                                                       13 causes to be subjected, any citizen of the United States . . . to the deprivation of any
                                                                                       14 rights … secured by the Constitution and laws, shall be liable to the party injured
                                                                                       15 . . . ." Government officials sued in their individual capacities, such as Defendants,
                                                                                       16 enjoy qualified immunity from suit under 42 U.S.C. § 1983 if their conduct "does
                                                                                       17 not violate clearly established statutory or constitutional rights of which a
                                                                                       18 reasonable person would have known." Harlow v. Fitzgerald, 457 U.S. 800, 818
                                                                                       19 (1982); cf. Hafer v. Melo, 502 U.S. 21, 29 (1991) (qualified immunity applies to
                                                                                       20 state employees).
                                                                                       21              The principle of qualified immunity "is important to '"society as a whole."'"
                                                                                       22 White v. Pauly, 137 S. Ct. 548, 552 (2017) (per curiam); Harlow, 457 U.S. at 814.
                                                                                       23 "Because qualified immunity is 'an immunity from suit rather than a mere defense to
                                                                                       24 liability . . . it is effectively lost if a case is erroneously permitted to go to trial.'"
                                                                                       25 Pearson v. Callahan, 555 U.S. 223, 231 (2009) (citation omitted). Courts thus
                                                                                       26 adhere to "the fundamental principle that issues of qualified immunity should be
                                                                                       27 determined at the earliest possible stage." Robinson v. Solano County, 278 F.3d
                                                                                       28 1007, 1012 (9th Cir. 2002) (en banc) (emphasis added).

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                                                                                        1              The qualified immunity analysis consists of two prongs: (1) whether the
                                                                                        2 official violated Plaintiff's constitutional rights; and (2) whether those rights were
                                                                                        3 "clearly established" in the specific context of this case. Dible v. City of Chandler,
                                                                                        4 515 F.3d 918, 930 (9th Cir. 2008). Where, as here, a public employee claims
                                                                                        5 violation of his First Amendment rights, a "context-intensive, case-by-case
                                                                                        6 balancing analysis" is applied to determine whether qualified immunity attaches. Id.
                                                                                        7 District Courts have "sound discretion in deciding" which of these two prongs to
                                                                                        8 address first "in light of the circumstances in the particular case at hand." Pearson v.
                                                                                        9 Callahan, 555 U.S. 223, 236 (2009).
                                                                                                       Qualified immunity may be adjudicated on a Motion to Dismiss where, as
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                                                                                       10
                                                                                       11 here, its applicability appears on the face of the complaint. See, e.g., Leveto v.
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                                                                                       12 Lapina, 258 F.3d 156, 161 (3d Cir. 2001); Dominque v. Telb, 831 F.2d 673, 677 (6th
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                                                                                       13 Cir. 1987) (defendant may move to dismiss based on qualified immunity if "the
                                                                                       14 facts pleaded would not show that his conduct violated clearly established law of
                                                                                       15 which a reasonable person should have known at the time"). "To survive a motion to
                                                                                       16 dismiss, a complaint must contain sufficient factual matter, accepted as true, to 'state
                                                                                       17 a claim to relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662, 678
                                                                                       18 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); Fed. R. Civ.
                                                                                       19 P. 8(a)(2) (pleading must include a "short and plain statement of the claim showing
                                                                                       20 that the pleader is entitled to relief").
                                                                                       21              The plaintiff must plead "factual content that allows the court to draw the
                                                                                       22 reasonable inference that the defendant is liable for the misconduct alleged." Iqbal,
                                                                                       23 556 U.S. at 678. This standard does not demand "'detailed factual allegations,'" but
                                                                                       24 requires "more than an unadorned, the-defendant-unlawfully-harmed-me
                                                                                       25 accusation." Id. (quoting Twombly, 550 U.S. at 555). It also requires more than
                                                                                       26 "facts that are 'merely consistent with' a defendant's liability" or that offer the "sheer
                                                                                       27 possibility that a defendant has acted unlawfully." Id. It "will not do" for a pleading
                                                                                       28 to offer mere "labels and conclusions," "a formulaic recitation of the elements of a

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                                                                                        1 cause of action," or "naked assertions[s]" without "further factual enhancement."
                                                                                        2 Twombly, 550 U.S. at 555, 557. Although this Court must accept as true the FAC's
                                                                                        3 factual allegations, this tenet "is inapplicable to legal conclusions" and threadbare,
                                                                                        4 conclusory recitals "of the elements of a cause of action." Id. at 555. This Court also
                                                                                        5 may consider documents that are referenced in the FAC, even if not attached thereto
                                                                                        6 as exhibits (e.g., FAC ¶¶ 30, 33, 34, 37, 42 [referencing Bylaws (RJN, Exh. 1) and
                                                                                        7 Suspension Notice (RJN, Exh. 3)]), and may deem those documents to be
                                                                                        8 incorporated by reference. See, e.g., Davis v. HSBC Bank, 691 F.3d 1152, 1159-60
                                                                                        9 (9th Cir. 2012) (citing numerous cases).
                                                                                                       Defendants submit the FAC's allegations show that they did not violate
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                                                                                       10
                                                                                       11 Plaintiff's First Amendment rights at all. In any event, because those alleged rights
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                                                                                       12 were not "clearly established" in the specific context of this case, Defendants are
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                                                                                       13 entitled to qualified immunity. Dible, 515 F.3d at 930; see Pearson, 555 U.S. at 236.
                                                                                       14              A.    None of the Defendants – Least of All Dr. Yee, Dr. Katz, or Dr.
                                                                                       15                    Mahajan – Subjected Plaintiff to an Adverse Employment Action
                                                                                       16                    in Retaliation for Exercising First Amendment Rights.
                                                                                       17              Under the First Amendment, a government employer may not stifle free
                                                                                       18 speech rights that its employees "would otherwise enjoy as citizens to comment on
                                                                                       19 matters of public interest." Pickering v. Board of Educ., 391 U.S. 563, 568 (1968).
                                                                                       20 The Supreme Court has sought to strike "a balance between the interests of the
                                                                                       21 [public employee], as a citizen, in commenting upon matters of public concern and
                                                                                       22 the interest of the State, as an employer, in promoting the efficiency of the public
                                                                                       23 services it performs through its employees." Id.
                                                                                       24              The Ninth Circuit has "further refined" the Pickering balancing test "into a
                                                                                       25 five-step inquiry." Dahlia v. Rodriguez, 735 F.3d 1060, 1067 (9th Cir. 2013) (en
                                                                                       26 banc), cert. denied sub nom. City of Burbank v. Dahlia, 134 S. Ct. 1283 (2014).
                                                                                       27 These steps are:
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                                                                                        1              . . . (1) whether the plaintiff spoke on a matter of public concern; (2)
                                                                                        2              whether the plaintiff spoke as a private citizen or public employee; (3)
                                                                                        3              whether the plaintiff's protected speech was a substantial or motivating
                                                                                        4              factor in the adverse employment action; (4) whether the state had an
                                                                                        5              adequate justification for treating the employee differently from other
                                                                                        6              members of the general public; and (5) whether the state would have
                                                                                        7              taken the adverse employment action even absent the protected speech.
                                                                                        8 Eng v. Cooley, 552 F.3d 1062, 1070 (9th Cir. 2009), cert. denied, 558 U.S. 1110
                                                                                        9 (2010). The plaintiff bears the burden of proof on each of the first three steps of this
                                                                                       10 standard. Id. at 1070-71.
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                                                                                       11              The Supreme Court has made clear that an objective standard applies to
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                                                                                       12 retaliation claims under federal law: "a plaintiff must show that a reasonable
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                                                                                       13 employee would have found the challenged action materially adverse." Burlington
                                                                                       14 N. & Santa Fe Ry. v. White, 548 U.S. 53, 68 (2006) (citations omitted) (Title VII). In
                                                                                       15 the First Amendment context, this standard requires Plaintiff to show that the
                                                                                       16 alleged adverse employment action "well might have 'dissuaded a reasonable
                                                                                       17 worker . . .'" from exercising his First Amendment rights. See id. (emphasis added);
                                                                                       18 Coszalter v. City of Salem, 320 F.3d 968, 976 (9th Cir. 2003) (applying Title VII test
                                                                                       19 to § 1983 claims). This standard is intended to "screen out trivial conduct while
                                                                                       20 effectively capturing those acts that are likely to dissuade employees" from
                                                                                       21 protected conduct. White, 548 U.S. at 70 (emphasis added). Ordinarily, "petty
                                                                                       22 slights, minor annoyances, and simple lack of good manners will not create such
                                                                                       23 deterrence" under this standard. Id. at 68. "[T]he significance of any given act of
                                                                                       24 retaliation will often depend upon the particular circumstances. Context matters. . . .
                                                                                       25 [A]n 'act that would be immaterial in some situations is material in others.'" Id. at
                                                                                       26 69 (emphasis added, citations omitted).
                                                                                       27              The only adverse employment action even arguably alleged in the FAC is that
                                                                                       28 "Defendants, and each of them, . . . vot[ed] to revoke Plaintiff's Professional Staff

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                                                                                        1 membership and privileges at Harbor-UCLA." (FAC ¶ 43 [emphasis added]. But see
                                                                                        2 id. ¶¶ 10, 12 [Dr. Yee and Dr. Katz not alleged to be on MEC]; RJN, Exh. 1 §§ 6.2-
                                                                                        3 5, 6.2-7, 6.2-8, 6.2-9, 7.6-4 [Director and CMO not involved in MEC's investigative
                                                                                        4 or disciplinary processes after they are initiated]; id., § 11.2-1.2 [Hospital's CMO is
                                                                                        5 an ex officio (non-voting) member of the MEC].) However, the FAC also admits
                                                                                        6 that Plaintiff exercised his right to a hearing on the proposed revocation, and
                                                                                        7 (correctly) does not indicate that any final decision on that hearing has occurred.
                                                                                        8 (FAC ¶¶ 34-36.)3 Thus, the MEC's recommendation – the only adverse action
                                                                                        9 arguably attributed to Defendants – has not been implemented as proposed. (Id.)
                                                                                                       The FAC's allegations thus establish that none of the Defendants subjected
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                                                                                       10
                                                                                       11 Plaintiff to a materially adverse action by ostensibly voting for a proposed
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                                                                                       12 revocation which has not been implemented. Even if each individual vote for
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                                                                                       13 revocation could have been deemed materially adverse if the proposal had been
                                                                                       14 implemented, under the factual context presented by the FAC, each alleged vote
                                                                                       15 proved to be immaterial and not actionable, as a matter of law. White, 548 U.S. at
                                                                                       16 68-70; Coszalter, 320 F.3d at 976. At most, these alleged votes amounted to no
                                                                                       17 more than "criticism" of Plaintiff's actions, which is inherently part of the free
                                                                                       18 exchange of ideas that the First Amendment protects. See, e.g., New York Times Co.
                                                                                       19 v. Sullivan, 376 U.S. 254, 273 (1964) ("neither factual error nor defamatory content
                                                                                       20
                                                                                       21
                                                                                       22   3
                                                                                             The FAC notes that the County issued an "intention to suspend Plaintiff's
                                                                                       23   employment at Harbor-UCLA for 25 days," but does not allege that any Defendant
                                                                                            participated in that process, except that Dr. Mahajan signed the Suspension Notice
                                                                                       24   as CMO of Harbor-UCLA. (FAC ¶ 37; RJN, Exh. 3 at 8.) Moreover, Plaintiff's
                                                                                       25   employment is separate from his PSA membership and privileges, and the County's
                                                                                            employment decision is not alleged in the FAC as an adverse action by any
                                                                                       26   Defendant. (FAC ¶ 43.) As discussed herein, no JRC review or final action on
                                                                                       27   Plaintiff's PSA membership or privileges is alleged to have occurred.
                                                                                       28

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                                                                                        1 suffices to remove the constitutional shield from criticism of official conduct").4
                                                                                        2              Plaintiff's claim is particularly groundless as to Dr. Yee, Dr. Katz, and Dr.
                                                                                        3 Mahajan. Although one paragraph of the FAC frivolously lumps all "Defendants"
                                                                                        4 together as allegedly having voted to revoke Plaintiff's PSA privileges and
                                                                                        5 membership (FAC ¶ 43), the FAC elsewhere admits that Dr. Yee and Dr. Katz were
                                                                                        6 not members of the MEC (compare id. ¶¶ 10, 12 with id. ¶¶ 6-9, 11 [all other
                                                                                        7 Defendants were on MEC]). Instead, the FAC alleges that Dr. Yee and Dr. Katz
                                                                                        8 "endorsed," "ratified," "approved," and "permitted" the MEC's recommendation in
                                                                                        9 entirely unspecified ways, and that Dr. Katz "encouraged" the action by some
                                                                                       10 oblique comment (id. ¶¶ 31-32) – even though the Bylaws provide no role for the
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                                                                                       11 Director or CMO of DHS in the investigative or disciplinary processes after they are
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                                                                                       12 initiated (RJN, Exh. 1 §§ 6.2-5, 6.2-7, 6.2-8, 6.2-9, 7.6-4). The Bylaws also make
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                                                                                       13 clear that Dr. Mahajan was a non-voting ex officio member of the MEC (id. § 11.2-
                                                                                       14 1.2), thus negating Plaintiff's conclusory, speculative assertion that Dr. Mahajan
                                                                                       15 voted to revoke Plaintiff's staff privileges and membership.
                                                                                       16              Since MEC members' mere votes in favor of an unimplemented proposed
                                                                                       17 revocation do not constitute "adverse employment actions," the same conclusion
                                                                                       18 applies with even greater force to so-called "approv[al]" or "encourage[ment]" of
                                                                                       19 that unimplemented proposal by persons with no role in the process. White, 548
                                                                                       20 U.S. at 68-70; Coszalter, 320 F.3d at 976. Plaintiff's inability to establish that Dr.
                                                                                       21 Yee, Dr. Katz, Dr. Mahajan, or any other Defendant subjected him to an "adverse
                                                                                       22 employment action" is fatal to his § 1983 claim. Eng, 552 F.3d at 1070; Coszalter,
                                                                                       23
                                                                                       24
                                                                                            4
                                                                                            Plaintiff does not, and cannot, allege that a mere unfulfilled possibility of
                                                                                       25
                                                                                          revocation would have dissuaded a reasonable physician in Dr. Ryan's position from
                                                                                       26 speaking out. At any rate, the FAC reveals the potential for revocation was created
                                                                                       27 not by any Defendant, but by the request of a non-party (Dr. White) for corrective
                                                                                          action (FAC ¶ 29), which the PSA had a duty to investigate. (RJN, Exh. 1 § 6.2-5.)
                                                                                       28

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                                                                                        1 320 F.3d at 976. This is a sufficient basis, by itself, for granting Defendants' Motion
                                                                                        2 to Dismiss.
                                                                                        3              B.    The Contours of the Rights Against First Amendment Retaliation
                                                                                        4                    Alleged by Plaintiff Were Not, and Are Not, "Clearly Established"
                                                                                        5                    Within the Particular Factual Context of This Case.
                                                                                        6              To overcome qualified immunity, Plaintiff must show the "contours" of his
                                                                                        7 asserted rights were "sufficiently clear that a reasonable official would understand
                                                                                        8 that what he [or she] is doing violates that right" – i.e., "that in the light of pre-
                                                                                        9 existing law the unlawfulness must be apparent." Hope v. Pelzer, 536 U.S. 730, 739
                                                                                       10 (2002) (internal quotation marks omitted). This involves a standard of "objective
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                                                                                       11 reasonableness." Harlow, 457 U.S. at 818. It immunizes from suit "all but the
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                                                                                       12 plainly incompetent or those who knowingly violate the law." Malley v. Briggs, 475
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                                                                                       13 U.S. 335, 341 (1986).
                                                                                       14              The Supreme Court "repeatedly" has instructed courts "not to define clearly
                                                                                       15 established law at a high level of generality." Ashcroft v. al-Kidd, 563 U.S. 731, 742
                                                                                       16 (2011) ("The general proposition, for example, that an unreasonable search or
                                                                                       17 seizure violates the Fourth Amendment is of little help in determining whether the
                                                                                       18 violative nature of particular conduct is clearly established.") (citations omitted);
                                                                                       19 Sharp v. County of Orange, No. 15-56146, 871 F.3d 901, 2017 U.S. App. Lexis
                                                                                       20 18148, at *21 (Sept. 19, 2017) (while precedents "establish a general rule that an
                                                                                       21 unreasonable mistake of identity renders an arrest unconstitutional, we cannot
                                                                                       22 simply apply that general rule to the facts of this case").
                                                                                       23              Instead, "the clearly established law must be 'particularized' to the facts of
                                                                                       24 the case," or else "[p]laintiffs would be able to convert the rule of qualified
                                                                                       25 immunity . . . into a rule of virtually unqualified liability simply by alleging
                                                                                       26 violation of extremely abstract rights.'" White, 137 S. Ct. at 552 (emphasis added,
                                                                                       27 citations omitted); Dunn v. Castro, 621 F.3d 1196, 1201 (9th Cir. 2010) (appropriate
                                                                                       28 question was not whether a father has a clearly-established right to companionship

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                                                                                        1 of his child in the abstract, but "whether a reasonable prison official could have
                                                                                        2 believed that terminating [a prisoner's] right to receive visits from his children was
                                                                                        3 lawful, in light of clearly established law and the information he possessed"). As the
                                                                                        4 Ninth Circuit recently explained:
                                                                                        5              Except in the rare case of an "obvious" instance of constitutional
                                                                                        6              misconduct (which is not presented here), Plaintiff[] must "identify a
                                                                                        7              case where [a public official] acting under similar circumstances as
                                                                                        8              [defendants] was held to have violated the [First] Amendment." . . . In
                                                                                        9              other words, Plaintiff[] must point to prior case law that articulates a
                                                                                                       constitutional rule specific enough to alert these [officials] in this case
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                                                                                       10
                                                                                       11              that their particular conduct was unlawful. To achieve that kind of
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                                                                                       12              notice, the prior precedent must be "controlling" – from the Ninth
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                                                                                       13              Circuit or Supreme Court – or otherwise be embraced by a "consensus"
                                                                                       14              of courts outside the relevant jurisdiction. . . .
                                                                                       15 Sharp, 2017 U.S. App. Lexis 18148, at *21 (italics in original) (addressing Fourth
                                                                                       16 Amendment violations) (quoting White, 137 S. Ct. at 552, and Wilson v. Layne, 526
                                                                                       17 U.S. 603, 617 (1999)).
                                                                                       18              The Ninth Circuit has reiterated that "because whether a public employee's
                                                                                       19 speech is constitutionally protected turns on a context-intensive, case-by-case
                                                                                       20 balancing analysis, the law regarding such claims will rarely, if ever, be
                                                                                       21 sufficiently 'clearly established' to preclude qualified immunity." Dible, 515 F.3d
                                                                                       22 at 930 (citations omitted), quoted in Eng, 552 F.3d at 1076 n.6. The instant case
                                                                                       23 "would not be one of those rarities." Id. (emphasis added); accord Demers v.
                                                                                       24 Austin, 746 F.3d 402, 417 (9th Cir. 2014) ("because there is no Ninth Circuit law on
                                                                                       25 point to inform defendants about whether or how Garcetti might apply to a
                                                                                       26 professor's academic speech, we cannot say that the contours of the right in this
                                                                                       27 circuit were 'sufficiently clear that every reasonable official would have understood'
                                                                                       28 that this conduct violated that right").

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                                                                                        1                    1.    There Is No "Clearly Established Law" Under Which
                                                                                        2                          Defendants' Conduct Constituted an Adverse Employment
                                                                                        3                          Action.
                                                                                        4              The discussion above (pp. 16-20) shows none of the Defendants subjected
                                                                                        5 Plaintiff to an adverse employment action. At the very least, there is no "clearly
                                                                                        6 established law" which would have put Defendants on notice that their alleged
                                                                                        7 actions would have dissuaded a reasonable physician in Plaintiff's position from
                                                                                        8 exercising his First Amendment rights. White, 548 U.S. at 68; Coszalter, 320 F.3d at
                                                                                        9 976. The five Defendants on the MEC are accused only of "voting to revoke
                                                                                       10 Plaintiff's Professional Staff membership and privileges at Harbor-UCLA" (FAC ¶¶
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                                                                                       11 33, 43 [emphasis added]; but see RJN, Exh. 1 § 11.2-1.2 [Dr. Mahajan could not
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                                                                                       12 vote]), and Dr. Yee and Dr. Katz only allegedly "encouraged" the MEC's
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                                                                                       13 recommendation in some unspecified and unofficial manner (FAC ¶¶ 10, 12, 31-32
                                                                                       14 [emphasis added]; RJN, Exh. 1 §§ 6.2-5, 6.2-7, 6.2-8, 6.2-9, 7.6-4).
                                                                                       15              Notably, Plaintiff's FAC admits the MEC-directed investigation was triggered
                                                                                       16 by Dr. White's August 2015 letter, which reported Plaintiff's alleged violations of
                                                                                       17 federal and state medical privacy laws. (FAC ¶ 28; RJN, Exh. 3 at 3-6.) Plaintiff
                                                                                       18 plainly has no "clearly established" Constitutional right to avoid being investigated
                                                                                       19 for his own alleged illegal conduct simply because of his own reports about Dr.
                                                                                       20 White dating back to the previous year (2014). The intervening event of the August
                                                                                       21 2015 letter breaks the causal nexus alleged by Plaintiff. See Wasek v. Arrow Energy
                                                                                       22 Servs., 682 F.3d 463, 472 (6th Cir. 2012) ("intervening legitimate reason to
                                                                                       23 discipline [plaintiff] . . . dispels an inference of retaliation based on temporal
                                                                                       24 proximity").
                                                                                       25              Moreover, Defendants' alleged votes and approval all came before the hearing
                                                                                       26 to which Plaintiff admittedly was entitled under the Bylaws. (FAC ¶¶ 34-36.) The
                                                                                       27 FAC does not – and cannot – allege that the hearing process has concluded. (Id.)
                                                                                       28 Because there is no controlling precedent which suggests such alleged votes or

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                                                                                        1 unimplemented "approval" constitute an adverse employment action under the
                                                                                        2 instant facts, there is no "clearly established law" that would have put Defendants
                                                                                        3 on notice that their actions, as alleged, would have violated Plaintiff's First
                                                                                        4 Amendment rights. This is yet another basis for granting Defendants' Motion to
                                                                                        5 Dismiss based on qualified immunity. White, 137 S. Ct. at 552; Sharp, 2017 U.S.
                                                                                        6 App. Lexis 18148, at *21; Dible, 515 F.3d at 930.
                                                                                        7                    2.     It Would Not Have Been Readily Apparent to a Reasonable
                                                                                        8                           Public Official that Plaintiff Spoke as a Public Employee on
                                                                                        9                           Matters of Public Concern.
                                                                                                       Plaintiff claims that he "exercised his constitutional right to free speech and to
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                                                                                       10
                                                                                       11 petition the government by reporting Dr. White's fraudulent and unlawful conduct"
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                                                                                       12 to the NIH and the DA, and that as a result, "Defendants retaliated against Plaintiff
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                                                                                       13 through adverse employment actions." (FAC ¶ 41.) But even if Plaintiff could
                                                                                       14 demonstrate that he spoke on a matter of "public concern," Dahlia, 735 F.3d at
                                                                                       15 1067, Defendants are aware of no "controlling" precedent that "clearly establishes"
                                                                                       16 this proposition. The FAC offers no legal support for its conclusory assertions that
                                                                                       17 Dr. White's alleged conduct was "unlawful," nor does it suggest that the NIH or the
                                                                                       18 DA (or the state DOJ) found that Plaintiff's allegations established unlawful conduct
                                                                                       19 even on their face. Plaintiff's failure to identify "clearly established law" putting
                                                                                       20 Defendants on notice that he spoke on matters of "public concern" is another
                                                                                       21 independently sufficient basis for finding that Defendants are entitled to qualified
                                                                                       22 immunity. Ashcroft, 563 U.S. at 742; Dible, 515 F.3d at 930.
                                                                                       23              There also is no "clearly established," controlling precedent that would have
                                                                                       24 put Defendants on notice that Plaintiff supposedly was speaking as a private citizen,
                                                                                       25 rather than as a County Hospital employee. As the Supreme Court has held, "a
                                                                                       26 governmental employer may impose certain restraints on the speech of its
                                                                                       27 employees, restraints that would be unconstitutional if applied to the general
                                                                                       28 public." City of San Diego v. Roe, 543 U.S. 77, 80 (2004). "Restricting speech that

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                                                                                        1 owes its existence to a public employee's professional responsibilities does not
                                                                                        2 infringe any liberties the employee might have enjoyed as a private citizen."
                                                                                        3 Garcetti v. Ceballos, 547 U.S. 410, 421-22 (2006) (emphasis added) (public
                                                                                        4 employee may be disciplined for statements made pursuant to official duties).
                                                                                        5 Conversely, speech that has "no official significance and [bears] similarities to
                                                                                        6 [speech activities] by numerous citizens every day" falls outside a public employee's
                                                                                        7 job duties and may be protected. Id. at 422.
                                                                                        8              Under Garcetti, "courts must make a 'practical' inquiry when determining the
                                                                                        9 scope of a government employee's professional duties." Dahlia, 735 F.2d at 1063
                                                                                       10 (quoting Garcetti, 547 U.S. at 424-25); accord Brandon v. Maricopa County, 849
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                                                                                       11 F.3d 837, 846 (9th Cir. 2017) (reversing jury verdict for plaintiff who allegedly was
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                                                                                       12 terminated for comments she made to newspaper about a case she was handling,
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                                                                                       13 which "fell under the broad set of official duties she owed Maricopa County as its
                                                                                       14 attorney"); see Kennedy v. Bremerton Sch. Dist., 869 F.3d 813, 827-28 (9th Cir.
                                                                                       15 2017) (football coach's post-game prayer at 50-yard line, within view of students
                                                                                       16 and parents, fell within scope of his job duties); Johnson v. Poway Unified Sch.
                                                                                       17 Dist., 658 F.3d 954, 966-70 (9th Cir. 2011) (math teacher spoke as a public school
                                                                                       18 employee even when espousing his personal religious views to students). Plaintiff
                                                                                       19 can survive a motion to dismiss only if his factual allegations are sufficient to
                                                                                       20 "support a reasonable inference that he acted outside of his professional duties."
                                                                                       21 Dahlia, 735 F.2d at 1076 (court may "reject, as implausible, allegations that are too
                                                                                       22 speculative to warrant further factual development").
                                                                                       23              Plaintiff's FAC accuses Dr. White of performing a medically unnecessary
                                                                                       24 procedure on one of Plaintiff's own patients; indeed, this is the only specific
                                                                                       25 example the FAC offers of the alleged "kickback" scheme. (FAC ¶¶ 16-23.) All of
                                                                                       26 Plaintiff's reports – both internally to "hospital management" and externally to the
                                                                                       27 NIH and DA – allegedly were motivated by his stated concerns about "patient care"
                                                                                       28 and "endangerment" (id. ¶¶ 24-26). Those matters obviously are central to Plaintiff's

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                                                                                        1 job duties as a Staff Vascular Surgeon for a County Hospital (id. ¶ 1), just as the
                                                                                        2 fiduciary duty of loyalty is central to an attorney's job duties for her client. Brandon,
                                                                                        3 849 F.3d at 845. Thus, a reasonable person in the position of any of the Defendants
                                                                                        4 would have concluded Plaintiff was speaking pursuant to his professional
                                                                                        5 responsibilities as a publicly-employed physician, not as a private citizen. See
                                                                                        6 Demers, 746 F.3d at 417; Dible, 515 F.3d at 930.
                                                                                        7              Plaintiff claims that his speech activities "were not taken pursuant to any
                                                                                        8 official job duties," and that this was "confirmed" in the April 4, 2017 letter
                                                                                        9 notifying Plaintiff of the intent to suspend his employment. (FAC ¶¶ 37, 42.) But
                                                                                       10 this is a mere "formulaic recitation of the elements" of a First Amendment
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                                                                                       11 retaliation claim, Twombly, 550 U.S. at 555, and lacks sufficient "factual content" to
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                                                                                       12 raise a "reasonable inference" that Plaintiff spoke as a private citizen rather than
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                                                                                       13 pursuant to his public employment. Iqbal, 556 U.S. at 678-79; Dahlia, 735 F.2d at
                                                                                       14 1076. In any event, the FAC misrepresents the Suspension Notice, which makes
                                                                                       15 clear that Plaintiff went outside his job duties not in connection with any speech
                                                                                       16 activities, but instead by his "unauthorized request and review" of protected health
                                                                                       17 information of other doctors' patients whose care predated Plaintiff's employment at
                                                                                       18 Harbor-UCLA, and then by lying about this misconduct. (RJN, Exh. 3 at 6.)
                                                                                       19              The facts pled in the FAC therefore fail to show that any of the Defendants
                                                                                       20 violated Plaintiff's First Amendment rights, or that those rights were "clearly
                                                                                       21 established" in the context of this case. Accordingly, Defendants are entitled to
                                                                                       22 qualified immunity, and their Motion to Dismiss should be granted. Pearson, 555
                                                                                       23 U.S. at 236; Eng, 552 F.3d at 1070; Dible, 515 F.3d at 930; Robinson, 278 F.3d at
                                                                                       24 1012. Because Plaintiff cannot allege any facts to overcome qualified immunity, the
                                                                                       25 dismissal should be without leave to amend. See Moore v. Kayport Package
                                                                                       26 Express, 885 F.2d 531, 538 (9th Cir. 1989) ("Leave to amend need not be given if a
                                                                                       27 complaint, as amended, is subject to dismissal.").
                                                                                       28

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                                                                                        1 IV.          THE FAC FAILS TO STATE A CLAIM FOR VIOLATION OF § 1983.
                                                                                        2              The discussion above at pages 16-25 shows that Plaintiff has failed to state
                                                                                        3 facts sufficient to establish that any of the Defendants subjected him to an "adverse
                                                                                        4 employment action" in retaliation for allegedly speaking "as a private citizen" on
                                                                                        5 matters of "public concern." Eng, 552 F.3d at 1070; Coszalter, 320 F.3d at 976. As
                                                                                        6 such, the FAC does not "contain sufficient factual matter, accepted as true, to 'state a
                                                                                        7 claim to relief that is plausible on its face'" for First Amendment retaliation under §
                                                                                        8 1983. Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). This is an
                                                                                        9 additional basis, along with qualified immunity, to grant Defendants' Motion to
                                                                                       10 Dismiss, without leave to amend. Moore, 885 F.2d at 538.
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                                                                                       11 V.           CONCLUSION
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                                                                                       12              Defendants respectfully ask this Court to grant their Motion to Dismiss,
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                                                                                       13 without leave to amend.
                                                                                       14
                                                                                            DATED: October 27, 2017                  BALLARD ROSENBERG
                                                                                       15                                              GOLPER & SAVITT, LLP
                                                                                       16
                                                                                       17                                            By:
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